       Case 20-01484-CMG          Doc 12     Filed 11/24/20 Entered 11/25/20 10:32:53           Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

 Andrew J. Kelly
 The Kelly Firm, P.C.
 Coast Capital Building                                                    Order Filed on November 24, 2020
 1011 Highway 71, St. 200                                                  by Clerk
                                                                           U.S. Bankruptcy Court
 Spring Lake, NJ 07762                                                     District of New Jersey
 732-449-0525
 Fax : 732-449-0592
 E il k ll @kb l
In Re:                                                     Case No.:                   15-11550
                                                                                _______________________
 Kenneth B Long
                                                           Adv. No.:            _______________________
                                                                                     20-01484-CMG


Bunce D. Atkinson, Trustee for the Debtor Estate of         Trial Date:
Kenneth B. Long
                                                           Judge:                  Christine M. Gravelle

                           Plaintiff(s)
v.

Kathleen Long

                          Defendant(s)


                                   DEFAULT JUDGMENT ORDER

        The relief set forth on the following pages, numbered two (2) through (3) is hereby
        ORDERED.




     DATED: November 24, 2020
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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b)

   THE KELLY FIRM, P.C.
   Bunce D. Atkinson
   1011 Highway 71, Suite 200
   Spring Lake, NJ 07762
   (732) 449-0525
   bunceatkinson@aol.com
   Attorneys for Plaintiff
   In Re:
                                                    Case No.: 15-11550-CMG
        Kenneth B Long,
                                                    Adversary No. 20-01484-CMG
                    Debtor.
                                                    Chapter: 7
   Bunce D. Atkinson, Trustee for the Debtor
   Estate of Kenneth B. Long,                       Judge: Christine M. Gravelle, U.S.B.J.

                    Plaintiff,                                    Civil Action

               v.                                 FINAL JUDGMENT AGAINST
                                                  DEFENDANT KATHLEEN LONG
   Kathleen Long,                                 SETTING ASIDE A FRAUDUELENT
                                                  TRANSFER AND PERMITTING THE
                 Defendant.                       SALE OF PROPERTY PURSUANT TO
                                                  11 U.S.C. § 363(h)



          This matter having been opened to the Court by The Kelly Firm, P.C., attorneys

   for the Plaintiff/Trustee, Bunce D. Atkinson, Bunce D. Atkinson, Esq. appearing, Default

   having been entered against the Defendant Kathleen Long, and the Court having

   considered the Affidavit in support of the Plaintiff/Trustee’s request to enter default

   judgment against the Defendant, Kathleen Long, and for good cause shown; it is

          ORDERED as follows:




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           1.      Judgment be and hereby is entered against the Defendant, Kathleen Long

   on Count One of the Trustee’s Complaint determining that the transfer by the Debtor

   Kenneth B. Long, who was the husband of the Defendant Kathleen Long, a/k/a Kathleen

   A. Long, of his ownership interest in property located at Parcel 19/5G/1/33, Tobyhanna

   Township, Monroe County, Pennsylvania, commonly known as 263 Aspen Road, Pocono

   Pines, PA, hereinafter the “Property” was a fraudulent transfer pursuant 11 U.S.C. § 548

   and N.J.S.A 25:2-20 et seq. made applicable to the bankruptcy proceeding pursuant to 11

   U.S.C. § 544.

           2.      The transfer of the Property is set aside, and the property is vested in the

   name of the Debtor Estate of Kenneth B. Long, Bunce Atkinson, Trustee and Kathleen

   Long as tenants-in common.

           3.      The Trustee is authorized to record this judgment as a deed in the

   appropriate book of deed records in Pennsylvania to reflect that title to the Property is

   vested in the name of the Debtor Estate of Kenneth B. Long, Bunce Atkinson, trustee,

   and Kathleen Long, as tenants-in-common..

           4.      The Trustee is authorized to sell the Property pursuant to 11 U.S.C. §

   363(h), and divide the net proceeds of sale 50% to the Debtor Estate and 50% to Kathleen

   Long.




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